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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

     MAXWELL ROUX, JOHN DUFF III, HENRY
     SMITH, and BRUNO NISPEL,

              Plaintiffs,
                                                           C.A. No. 23-1056-GBW
                      v.

     KRISHNA OKHANDIAR (a/k/a Rohit
     Okhandiar, Charlotte Fang, Charlie Fang,
     Wonyoung Jang, Miya, Xinma33, MissJo, and
     Sonya); REMILIA CORPORATION LLC, a
     Delaware limited liability company; REMILIA
     INDUSTRIES LLC, a Delaware limited liability
     company,

              Defendants.

                  PLAINTIFFS’ UNOPPOSED MOTION TO FILE UNDER SEAL

         Plaintiffs Maxwell Roux, John Duff III, Henry Smith, and Bruno Nispel (collectively,

“Plaintiffs”) respectfully move this Court pursuant to Federal Rule of Civil Procedure 5.2 and

Local Rule of Civil Practice and Procedure of the United States District Court for the District of

Delaware 5.1.31 for entry of an order authorizing Plaintiffs to file Exhibit L to its Amended

Complaint under seal.

                                          INTRODUCTION

         1.        Plaintiffs request an order authorizing Plaintiffs to file their Exhibit L to their

Amended Complaint under seal, as it contains confidential, non-public information related to the

demand letter sent on behalf of Plaintiffs to defendant Krishna Okhandiar and defendant Remilia



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  Local Rule of Civil Practice and Procedure of the United States District Court for the District of
Delaware 5.1.3 requires that documents placed under seal be filed in accordance with CM/ECF
procedures, which in turn requires that the authority for filing a document under seal be provided by
a protective order of the court.
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Corporation LLC.

       2.      Counsel have met and conferred on the issues raised in the Motion to Seal.

Defendants do not oppose this motion.

                                       LEGAL STANDARD

       3.      Although there is a “presumptive right of public access to pretrial motions of a

nondiscovery nature, whether preliminary or dispositive,” the right is “not absolute.” In re

Avandia Marketing, 924 F.3d 662, 672 (3d Cir. 2019) (quoting In re Cendant Corp., 260 F.3d 183,

192–93 (3d Cir. 2001) and Bank of Am. Nat’l Tr. & Sav. Ass’n v. Hotel Rittenhouse Assocs., 800

F.2d 339, 344 (3d Cir. 1986)); see also Littlejohn v. Bic Corp., 851 F.2d 673, 677–78 (3d Cir.

1988). The movant overcomes the presumption of access if it shows “that the interest in secrecy

outweighs the presumption.” In re Avandia Marketing, 924 F.3d at 672 (quoting Bank of Am., 800

F.2d at 344). The material needs to be “the kind of information that courts will protect and that

disclosure will work a clearly defined and serious injury to the party seeking closure.” Id. (quoting

Miller v. Ind. Hosp., 16 F.3d 549, 551 (3d Cir. 1994)).

       4.      Here, good cause to seal Exhibit L to the Amended Complaint because these

documents contain confidential information related to a pre-litigation demand letter sent on behalf

of Plaintiffs to defendant Krishna Okhandiar and defendant Remilia Corporation LLC. The

information contained in the demand letter includes sensitive business information about the

operations and assets of the Collective Venture, non-party personal information, and detailed terms

of Plaintiffs pre-litigation demand.

       5.      Plaintiffs filed Exhibit L to the complaint in Court of Chancery of the State of

Delaware under seal and Plaintiff requests that it remain sealed.

       6.      There will be no harm to the public because the information to be redacted from


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public view is minimal and will not deprive the public of its ability to ascertain the nature of the

dispute. Protecting the Plaintiffs pre-litigation demand from disclosure to the public far outweighs

the public’s interest in an open judicial process. Based on these representations Plaintiff believes

it is prudent to seal Exhibit L to protect this sensitive information contained therein.

                                         CONCLUSION

       7.      Plaintiffs, therefore, respectfully requests entry of the attached order permitting the

filing of Exhibit L to the Amended Complaint under seal.

       8.      Plaintiffs will comply with all applicable local rules and procedure regarding filing

under seal through the Court’s CM/ECF system, including the requirement to file a redacted

version of the Answer and Counterclaims within seven (7) days of filing the sealed documents.



Dated: March 7, 2024                                   K&L GATES LLP

                                                       /s/ Steven L. Caponi
                                                       Steven L. Caponi (No. 3484)
                                                       Matthew B. Goeller (No. 6283)
                                                       600 N. King Street, Suite 901
                                                       Wilmington, DE 19801
                                                       Phone: (302) 416-7080
                                                       steven.caponi@klgates.com
                                                       matthew.goeller@kglates.com

                                                       -and-

                                                       Jonathan P. Hersey (admitted pro hac vice)
                                                       Lea E. Gierut (admitted pro hac vice)
                                                       K&L Gates LLP
                                                       1 Park Plaza, Twelfth Floor
                                                       Irvine, CA 92614
                                                       Phone: (949) 253-0900
                                                       jonathan.hersey@klgates.com
                                                       lea.gierut@klgates.com

                                                       Attorneys for Plaintiffs Maxwell Roux, John
                                                       Duff III, Henry Smith, and Bruno Nispel


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